 

Case 3:20-cv-00473-DPJ-FKB Document 26-1 Filed 12/04/20 Page1of3

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By delivering a trug copy of the same this__|’2- day of
at Bite
“ZS y fol Sherif.

De Sheriff

 

 

WARRANT

 

THE STATE OF MISSISSIPPI,

TO ANY LAWFUL OFFICER OF KEMPER COUNTY:

We command you forthwith to take the body of
and bring him/her before’ the

 

undersigned, a Justice Court Judge of said County, to answer the State of

Mississippi on a charge of

 

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(— 99~19-472)

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Bond is set at sBR2DE . |
Witness my hand this Ly day of hesg se

 

 

 

 

 

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| have this day executed the within writ personally on the within named
By delivering a true copy of

 

the same this day of , 2019,

 

Officer

 

 

EXHIBIT

tabbies*

CLT-(WRIGHT)-000030
Case 3:20-cv-00473-DPJ-FKB Document 26-1 Filed 12/04/20 Page 2 of 3

IN THE JUSTICE COURT OF KEMPER COUNTY, STATE OF MISSISSIPPI

 

STATE OF MISSISSIPPI
VS Docket # Page #
Devsy [ UW) “if AL , DEFENDANT
CRIMINAL AFFIDAVIT

IN THE NAME AND BY THE AUTHORITY OF THE STATE OF MISSISSIPPI:

, being duly sworn, make this affidavit that
, the DEFENDANT, on or about the

day of Su he , 20 lG_, and within the jurisdiction of this County, did
willfully and unlawfally: (Specify the criminal conduct constituting the offense)

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been LY b-ddhei 2, dd So db LAPP Kpbthd Agus
MS 3935

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against the peace and dignity of the state.
AFFIANT

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Ee pSOA

JUSTICE COURT CLERK / D.C,

 

 

CLT-(WRIGHT)-000031
Case 3:20-cv-00473-DPJ-FKB Document 26-1 Filed 12/04/20 Page 3 of 3

Affiant’s information:

“ Kili Kw:
= MS_ 3938

Daytime tel on:

 

 

Defendant’s information:

une Obisy ( Ww ‘ah L

Mailing address:_,

Physical addr i ij . mM IC
| 393

Telephone:

 

 

CLT-(WRIGHT)-000032
